                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.

                     MOTION AND ORDER FOR ADMISSION PRO HAC VICE

             Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission

pro hac vice of W. Hunter Winstead of Gilbert LLP to represent the Honorable Barbara J.

Houser (Ret.), in her capacity as Trustee of the BSA Settlement Trust.

Dated: July 6, 2023                                    PACHULSKI STANG ZIEHL & JONES LLP

                                                       /s/ James E. O’Neill_________________
                                                       Richard M. Pachulski (CA Bar No. 90073)
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                                                       Attorneys for the Honorable Barbara J. Houser
                                                       (Ret.), in her capacity as Trustee of the BSA
                                                       Settlement Trust




1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the District of Columbia, and

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules and with the Standing Order for District Court Fund revised August 31,

2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for the

District Court.


Dated: July 6, 2023                            /s/ W. Hunter Winstead
                                               W. Hunter Winstead
                                               GILBERT LLP
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                                               Washington, DC 20003
                                               Telephone: (202) 772-2344
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                                 ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
